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                                  TRANSMITTAL OF QUARTERLY
                          POST CONFIRMATION REPORT WITH CERTIFICATION
                                    FOR THE QUARTER ENDED
                                       DECEMBER 31, 2017

In re:
                                                              Case No. 16-40271-CAN
Mid-States Supply Company,Inc.,
                                                              Chapter 11
Debtor


The Liquidating Trustee affirms that:

     1. The attached Chapter 11 Post Confirmation Report for the quarter ended December 31,
        2017, which includes the Total Disbursements for Quarter, the Summary of Amounts
        Distributed Under the Plan and the Summary of Status on Consummation of Plan has
        been reviewed and the report as prepared fairly and accurately reflects the bankruptcy
        estate's disbursement / distribution activity and status for the period stated.

     2. The individual responsible for preparing the attached report is Areya Holder Aurzada
        whose title is Liquidating Trustee. Any questions regarding the attached report should be
        directed to Areya Holder Aurzada at telephone number(972)438-8800.

     3. The Liquidating Trust is in compliance with the provisions of the confirmed Chapter 11
          Plan.


    4. The Liquidating Trustee has received some but not all of the Debtor's books and records.
       The Liquidating Trustee has served supplemental requests for production on the
       purchaser of the Debtor's assets, who is the entity in possession of the Debtor's books
       and records. The Liquidating Trustee is awaiting the purchaser's comprehensive
       responses and document production.

     5. The undersigned is authorized to file this report on behalf of the Liquidating Trust.


It is certified hereby, under penalty of perjury, that the information provided herein is true
and correct to the best of my knowledge and belief.


Dated: February [1], 2018
                                                   Signature
                                                   Areya HoldefAurzada
                                                   Liquidating Trustee




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                      POST CONFIRMATION REPORT WITH CERTIFICATION
                                       FOR THE QUARTER ENDED
                                          DECEMBER 31, 2017

Debtor: Mid-States Supply Company. Inc.                         Case No. 16-40271-CAN-11

Total Disbursements for Ouarter:

All disbursements made by the bankruptcy estate (vis-a-vis the Liquidating Trust, as successor in
interest under the confirmed chapter 11 plan of liquidation) during the current quarter, whether
under the plan or not, must be accounted for and reported herein for the purpose of calculating
quarterly fees.

                                                         Total Disbursements: $[6.842.861

Summarv of Amounts Distributed Under Plan:

                                           Current Ouarter      Paid to Date         Balance Due


          A.       Fees and Expenses

     1.   Trustee Compensation            $0.00                $0.00                 $0.00

    2.    Fee for Attorney for Trustee $0.00                    $0.00                $0.00

    3.    Fee for Attorney for Debtor     $0.00                 $0.00                $0.00

    4. Other Professionals                $0.00                 $263,411,347         $0.00

    5.    All expenses                    $6,842.86             $8,242.86            $0.00



          B.        Distributions


    6. Secured Creditors                  $0.00                 $0.00                $0.00

    7.    Priority Creditors               $0.00                $0.00                $0.00

    8. Unsecured Creditors                 $0.00                $0.00                $0.00

    9.    Equity Security Holders          $0.00                $0.00                $0.00

     10. Other Transfers                   $0.00                $0.00                $0.00

Summarv of Status of Consummation of Plan

Plan Payments are Current:                                              Yes x        No
Quarterly Fee Due to the United States Trustee are Current:             Yes x        No
Anticipated date of final report/motion for final decree:               12/31/18




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                          CHAPTER 11 POST CONFIRMATION REPORT(CONT.)
                                      FOR QUARTER ENDED
                                            DECEMBER 31, 2017

 Value of Liquidating Trust Assets as of Ouarter Ended

     1. Liquidated Assets

               A. Cash on deposit:           $[0.00](Total Deposits received in the Current Quarter)

                                             $[6,842.86](Total Disbursements made in the Current Quarter)

                                             $[495.578.54](Total cash on hand as of 12/31/17. Ouarter Ended^

     2. Unliquidated Assets^

               A. Real Property: Undeveloped tract of land located in Killdeer, North Dakota, as
                  disclosed and described in more detail in Section 55.27 on page 14 of the
                  Debtor's Schedule A/B filed at Docket Number 193 in the Bankruptcy Case
                  ("Schedules"). The real property's estimated value is $38,324.12. The
                  Liquidating Trustee, with the unanimous written approval ofthe Liquidating Trust
                  Advisory Board, hired Debra Harsche of Continental Real Estate, Inc. as the
                  estate's realtor and broker to liquidate this real property. The property is currently
                  listed for sale through Ms. Harsche.

               B. Claims, Causes of Action and Litigation: The claims and causes of action held
                  by the Liquidating Trust, include, without limitation, D&O insurance policy
                  recovery, avoidance actions, claims against insiders, and all other rights, claims
                  and causes of action to be determined upon the investigation of the Liquidating
                  Trustee and her professionals. The Debtor's Schedules disclose $24,000,000.00
                  in transfers to non-insiders in the 90 days prior to the Debtor's bankruptcy
                  petition date. In December, 2017, The Liquidating Trustee and her professionals
                  served more than 250 demand letters on persons in receipt of potentially
                  preferential transfers during the 90 days prior to the Debtor's bankruptcy petition
                  date. The Liquidating Trustee and her professionals are actively communicating
                  with and negotiating in good faith with certain parties responding to such
                  preference demand letters. The Liquidating Trustee and her professionals are
                  currently conducting their investigation regarding the viability of such assets, and
                  such investigation remains ongoing as of the date of December 31, 2017(Current
                  Quarter Ended).

'The values assigned to the Liquidating Trust's unliquidated assets herein are based on the disclosures contained in
the Schedules and the Corrected Disclosure Statement with Respect to Joint Chapter 11 Plan ofLiquidation [Dkt.
560]("Disclosure Statement"). The values disclosed in the Schedules and Disclosure Statement are based on the
Debtor's knowledge of such assets as of the date filed. The actual value of such assets may vary depending on the
Liquidating Trustee's actions required to liquidate the same. The Liquidating Trustee reserves all rights to amend
the values estimated herein based on the liquidation of such assets in due course of administering the Liquidating
Trust's estate.




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               C. Preferred Equity Interests: Pursuant to the terms of the sale transaction between
                  the Debtor and SSC Mid States Supply Inc. ("Purchaser"), as approved by the
                  Bankruptcy Court, the Liquidating Trust, as successor in interest to the Debtor,
                  owns $1,350,000.00 in preferred equity interests in SSC Mid States Holdings,
                  LLC (parent company owning 100% of the equity interests in the Purchaser) for
                    the benefit of unsecured creditors.



Amount of Estate Liabilities as of Quarter Ended


     1. Professional Fees: As of the close of the current Quarter Ended, the Liquidating Trust is
        unaware of any enforceable professional fees remaining against the estate. All currently
        enforceable claims against the Liquidating Trust for professional fees and expenses have
        been completely satisfied in full.

    2. Administrative Claims: February 19, 2017, was the deadline for parties seeking
       administrative expense priority to submit written applications for such relief in the
       Bankruptcy Court. As of the Quarter Ended, a total of six (6) applications for
       administrative expenses were filed in the Bankruptcy Case. As of the Quarter Ended,
       five (5)of the six (6) applications were resolved by agreed order for a total of $37,055.53
       in allowed administrative expense claims. As of the Quarter Ended, the only unresolved
       application for administrative expense remains pending and filed by Teamsters Local
       Union No. 541 ("Union") at Docket Number 526. The Union's application is subject to
          pending litigation by the Liquidating Trustee. The Union seeks approximately $350,000
          in administrative expense priority. The Union's alleged administrative expense claim
          remains pending as of the Quarter Ended. In addition to the $37,055.53 in allowed
          administrative expenses via written application, on July 19, 2017, the Liquidating Trustee
          and her professionals filed an omnibus objection to administrative claims. The
          Liquidating Trustee and her professionals continue to investigate the allowed amount
         administrative claims, and such investigation remains ongoing as of the date of December
         31, 2017(current Quarter Ended). Accordingly, as of the Quarter Ended, the Liquidating
         Trustee's administrative claims reconciliation process remains open and ongoing. As
         such, the Liquidating Trustee is unable to calculate a final balance of allowed
          administrative claims in this case at this time. The administrative claims identified and
          described in this subparagraph are subject to further reconciliation and adjustment by the
          Liquidating Trustee. Upon conclusion of the administrative claims reconciliation
          process, the Liquidating Trustee shall finalize and report the total balance of allowed
          administrative claims against the bankruptcy estate.

     3. Priority Unsecured Claims: As of the Quarter Ended, the deadline for parties to file
        priority claims expired. As of the Quarter Ended, the Debtor estimates priority tax claims
        in the amount of approximately $150,000.00. As of the Quarter Ended, the Debtor
        estimates non-tax priority claims in the amount of approximately $370,000.00. These
        figures are based on the claims filed prior to the claims submission deadline in the
        Bankruptcy Case and the Debtor's amended schedules. On August 21, 2017, the
        Liquidating Trustee and her professionals filed an omnibus objection to priority claims.


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          The Liquidating Trustee and her professionals continue to investigate the allowed amount
          and classification of all unsecured priority claims filed, and such investigation remains
          ongoing as of the date of December 31, 2017 (current Quarter Ended). Accordingly, as
          of the Quarter Ended, the Liquidating Trustee's unsecured priority claims reconciliation
          process remains open and ongoing. As such, the Liquidating Trustee is unable to
          calculate a final balance of allowed priority unsecured claims in this case at this time.
          The unsecured priority claims identified and described in this subparagraph are subject to
          further reconciliation and adjustment by the Liquidating Trustee. Upon conclusion of the
          unsecured priority claims reconciliation process, the Liquidating Trustee shall finalize
          and report the total balance of allowed priority unsecured claims against the bankruptcy
          estate.


    4. General Unsecured Claims: As of the Quarter Ended, the deadline for parties to file
       claims expired. As of the bankruptcy petition date, the Debtor estimated unsecured
       claims in the amount of approximately $57,000,000.00. This figure is based on the
       claims listed in the Debtor's Schedules and the claims filed prior to the submission
       deadline in the Bankruptcy Case. On August 21, 2017, the Liquidating Trustee and her
       professionals filed an omnibus objection to claims. The Liquidating Trustee and her
       professionals continue to investigate the allowed amount and classification of all
       unsecured claims filed, and such investigation remains ongoing as of the date of
       December 31, 2017 (current Quarter Ended). Accordingly, as of the Quarter Ended, the
       Liquidating Trustee's unsecured claims reconciliation process remains open and ongoing.
       As such, the Liquidating Trustee is unable to calculate a final balance of allowed
          unsecured claims in this case at this time. The unsecured claims identified and described
          in this subparagraph are subject to further reconciliation and adjustment by the
          Liquidating Trustee. Upon conclusion of the unsecured claims reconciliation process, the
          Liquidating Trustee shall finalize and report the total balance of allowed unsecured
          claims against the bankruptcy estate.

    5. Wells Fargo Subordinated Claim: As of the Quarter Ended, Wells Fargo Bank, N.A.
       ("Wells Fargo") asserts an unsecured deficiency claim remaining after the application of
       liquidation proceeds from Wells Fargo's collateral obtained through the sale of such
       assets to the Purchaser. The entire balance of Wells Fargo's unsecured deficiency claim
       is fully subordinated to the general unsecured claims identified above. As of the Quarter
       Ended, the Liquidating Trustee is unable to calculate a final balance of Wells Fargo's
       unsecured deficiency claim in this case at this time. There are unresolved claims in the
       Bankruptcy Case that may impact the calculation of Wells Fargo's unsecured deficiency
       claim. Wells Fargo's unsecured deficiency claim identified and described in this
       subparagraph is subject to further reconciliation and adjustment by the Liquidating
          Trustee.




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